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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION                    17   P1i R
                                                                              29   Ph     I:   55
                                                                CLERK
JON R DEUTSCH,                       §
                                                                'ESTF                    TCOU
                                                                                        Ur TE XAS
                   PLAINTIFF,        §                          fly
V                                    §
                                     §
ROY HENRY,                           §
                   DEFENDANT.        §




                                     §
JON R. DEUTSCH,                      §
                   PLAiNTIFF,        §
V.                                   §
                                     §     A-i 5-CV-807-LY-ML
DRAKER ENTERPRISES, INC.,            §
               DEFENDANT.            §




                                     §
JON R. DEUTSCH,                      §
                   PLAINTIFF,        §
V.                                   §

                                     §      A-15-CV-1238-LY-ML
CHI WA WA, INC.,                     §
                   DEFENDANT.        §




                                     §
JON R. DEUTSCH,                      §
                   PLAINTIFF,        §
V.                                   §
                                      §     A-16-CV-88-LY-ML
CHRIS D. CLARK AND RONI CLARK,        §
                DEFENDANTS.           §
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JON R. DEUTSCH,                                   §
                      PLAINTIFF,                  §
V.                                                §
                                                  §
LA TIERRA DE SIMMONS FAMILIA                      §           A-i 5-C V-90 1 -RP-ML
LTD.,                                             §
                DEFENDANT.                        §




JON R. DEUTSCH,                                   §
                      PLAINTIFF,                  §
V.                                                §
                                                  §           A-i 5-CV-974-RP-ML
PHIL'S ICEHOUSE INC.,                             §
                 DEFENDANT.                       §



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       Before the court are the above styled and numbered causes of action. Defendant in each

case filed a motion for sanctions, alleging that Plaintiff and Plaintiff's attorney engaged in bad-

faith conduct in the litigation. This court referred the motions to the United States Magistrate

Judge, who signed an order on December 7, 2016, granting the motions and awarding

$32,962.50 in fees to Defendants' attorney James Harrington and $136,122.50 in fees and

$6,588.78 in expenses to Defendants' attorneys Herring & Panzer, L.L.P.               Plaintiff filed

objections to the magistrate judge's order, and the court overruled the objections and affirmed

the order of the magistrate judge. Accordingly,

       IT IS ORDERED that Defendants' attorney James Harrington is awarded $32,962.50 in

fees, and Defendants' attorneys Herring & Panzer, L.L.P. are awarded $136,122.50 in fees and

$6,588.78 in expenses against Plaintiff Jon. R. Deutsch and his attorney Omar Rosales, jointly

and severally. This is the total collective amount awarded in the five causes of action referenced




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above and once paid shall discharge the obligation in all five causes.

   SIGNED    thisday of March, 2017.

                                               TED STAT S DISTRICT JUDGE




                                          ROBERT PITMAN
                                          UNITED STATES DISTRICT JUDGE
